                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 11-CR-107-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
                                                    RECOMMENDATION
 JESSE KAISER,
                                                CONCERNING DEFENDANT’S
                                              GUILTY PLEA AND APPLICATION
               Defendant.                       TO FIRE COURT-APPOINTED
                                                        COUNSEL


                      I. INTRODUCTION AND BACKGROUND
       On June 21, 2011, the Grand Jury returned a two-count Indictment against
Defendant Jesse Kaiser. On July 1, 2013, Defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Superseding
Indictment.1 On July 1, 2013, Judge Scoles filed a Report and Recommendation in which
he recommended that Defendant's guilty plea be accepted. On that same date, the parties
filed a Waiver of Objections to the Report and Recommendation. On July 1, 2013, the
court accepted the Report and Recommendation. On August 22, 2013, Defendant filed a
letter asking that he be permitted to fire his attorney and withdraw his guilty plea. On
August 28, 2013, Judge Scoles held a hearing on the Defendant’s requests. On August 30,
2013, Judge Scoles filed a Report and Recommendation in which he recommended that
Defendant be allowed to fire his court-appointed counsel, that Attorney Dennis McKelvie
continue as standby counsel and that Defendant not be allowed to withdraw his guilty plea.
The court, therefore, undertakes the necessary review of Judge Scoles’s recommendations.


       1
        A Superseding Indictment was filed on July 26, 2013 to correct the citation to the
statute under which Defendant was charged.

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                                    II. ANALYSIS
      Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
             A judge of the court shall make a de novo determination of
             those portions of the report or specified proposed findings or
             recommendations to which objection is made. A judge of the
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate judge.
28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge must determine de novo any part of the
             magistrate judge’s disposition that has been properly objected
             to. The district judge may accept, reject, or modify the
             recommended disposition; receive further evidence; or return
             the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed,2 and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
August 30, 2013. Pursuant to the Report and Recommendation, Defendant’s application
to fire his court-appointed counsel is GRANTED, with Attorney Dennis McKelvie to
continue as standby counsel. Defendant’s application to withdraw his guilty plea is
DENIED.


      2
        The court notes that Defendant has filed certain letters. See docket nos. 80-82.
In the letters, Defendant references Judge Scoles’s Report and Recommendation.
However, there is no reference which specifically addresses any findings or conclusions
that were made by Judge Scoles. To the extent that Defendant argues that this court lacks
subject matter jurisdiction, the court has already addressed that argument and found it to
be without merit. See August 30, 2013 Order (docket no. 77).

                                            2

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  IT IS SO ORDERED.
  DATED this 19th day of September, 2013.




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